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                                             LAW OFFICES
                                 MCCALLA RAYMER LEIBERT PIERCE, LLC
                                     BANKRUPTCY DEPARTMENT
                                      110 S.E. 6th Street, Suite 2400
                                        Ft. Lauderdale, FL 33301
                                       TELEPHONE: 770-643-7200
                                        TELEFAX: 866-761-0279
                                             1-800-275-7171

                                                    July 31, 2023

Clerk, United States Bankruptcy Court
299 E. Broward Blvd.
Room 112
Fort Lauderdale, FL 33301

                                   REQUEST FOR SERVICE OF NOTICES
      RE:
                      Debtors                                Diamante Enterprises LLC
                      Case Number                            23-14383
                      Chapter                                11
                      Secured Creditor                       U.S. Bank National Association, not in its individual
                                                             capacity but solely as trustee for the BINOM
                                                             Securitization Trust 2021-INV1
                      Loan Number                            XXXXXX3877
                      Property Address                       2941 MASTER ST, Philadelphia, PA 19121
Dear Sir / Madam:

            Would you be so kind as to add the following interested party to the mailing / service list in the above
   referenced case:

             U.S. Bank National Association, not in its individual capacity but solely as trustee for the BINOM
             Securitization Trust 2021-INV1
             c/o MCCALLA RAYMER LEIBERT PIERCE, LLC
             Bankruptcy Department
             110 S.E. 6th Street, Suite 2400
             Ft. Lauderdale, FL 33301

            Please provide us with a copy of each notice of any proceeding, hearing and/or report in this matter
   including, but not limited to notices required by Bankruptcy Rules 2002(g) and the Local Rules of the
   Bankruptcy Court.

            We appreciate your courtesy in this matter. If you have any questions, please do not hesitate to call
   me.

                                              Very Truly Yours,

                                            /s/ Reka Beane
                                            c/o MCCALLA RAYMER LEIBERT PIERCE, LLC
                                            110 S.E. 6th Street, Suite 2400
                                            Ft. Lauderdale, FL 33301
                                            Phone: 954-332-9370
                                            Email: Reka.Beane@mccalla.com
                                            Attorney Bar No: 52919




NOA
